                Case: 22-1855          Document: 68          Page: 1   Filed: 12/05/2023




FORM 18. Joint Stipulation RI9ROXQWDU\'LVPLVVDO                                           Form 18
                                                                                           March 2023


                      UNITED STATES COURT OF APPEALS
                         FOR THE FEDERAL CIRCUIT
                                 CORRECTED
                  JOINT STIPULATION OF VOLUNTARY DISMISSAL

             Case Number 2022-1855
      Short Case Caption
                                  Terves LLC v. Yueyang Aerospace New Materials Co. Ltd.

Instructions. Use this form only to file a joint stipulation of voluntary dismissal
pursuant to Fed. R. App. P. 42(b)(1). This form may not be used if a motion is required
pursuant to Fed. R. App. P. 42(b)(2)-(3). Below, please identify each case number to be
dismissed separately, including any consolidated case numbers.
Pursuant to Federal Rule of Appellate Procedure 42(b)(1), all parties hereby stipulate
to the voluntary dismissal of the below-noted case number(s):

2022-1855




Costs are to be assigned as follows:
  ✔
         Each side shall bear their own costs.
         Other:




   Date: 12/04/2023                                                /s/ Martin S. High
                                                     Signature:
                                                     Name:         Martin S. High
                                                     Party Name: Ecometal Inc.DQG1LFN<XDQ


                                                            V0DWWKHZ-&DYDQDJK
   Date:                                             Signature:   ______________________________
                                                     Name:          0DWWKHZ-&DYDQDJK
                                                                  ______________________________
                                                     Party Name: ______________________________
                                                                   7HUYHV//&

         Additional pages attached
